Case 17-14454-elf     Doc 892     Filed 12/06/21 Entered 12/06/21 12:56:00           Desc Main
                                  Document     Page 1 of 2



                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                :
  In re:                                        :
                                                : CHAPTER 11
  ISLAND VIEW CROSSING II, L.P.,                :
                                                : BANKRUPTCY NO. 17-14454 (ELF)
                        Debtor.                 :
                                                :

                                         ORDER

       AND NOW, upon consideration of the Motion of Prudential Savings Bank

(“Prudential”) for the Entry Of An Order Granting a Super-priority Administrative Claim

Under 11 U.S.C. §503(b) and 507(b) for the Post-petition Diminution of its Collateral and for

Related Relief (“Motion”) (Doc. # 886), and Prudential’s request for expedited consideration of

the Motion;

       It is hereby ORDERED that:


1. Prudential’s request for an expedited hearing is GRANTED.

2. A hearing to consider the Motion will be conducted by video conference commencing on

   December 13, 2021, at 9:00 a.m., the same date and time as two (2) other scheduled

   contested matters in this bankruptcy case.

3. On or before December 10, 2021, the Trustee shall file a response to the Motion.

4. Subject to Paragraph 5, the court’s order governing procedures dated November 12, 2021

   (Doc. # 870) shall govern the hearing on the Motion, EXCEPT that the deadline for serving

   (and providing the court) with a Remote Witness List and Exhibit List, is EXTENDED to

   December 10, 2021.




                                                1
Case 17-14454-elf     Doc 892    Filed 12/06/21 Entered 12/06/21 12:56:00         Desc Main
                                 Document     Page 2 of 2



5. The parties need not comply with Paragraph 4 above if there are no witnesses or documents

   other than those included on the Remote Witness List and Exhibit List served (and provided

   to the court) on December 9, 2021, as already required by order governing procedures dated

   November 12, 2021.




Date: December 6, 2021

                                           ______________________________________
                                           ERIC L. FRANK
                                           U.S. BANKRUPTCY JUDGE




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